                    Case 16-13842            Doc 1       Filed 10/05/16 Entered 10/05/16 11:34:37                              Desc Main
                                                           Document     Page 1 of 35

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MASSACHUSETTS

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Ameritrans Capital Corporation

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  31 State Street
                                  Boston, MA 02109
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Suffolk                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                    Case 16-13842                Doc 1       Filed 10/05/16 Entered 10/05/16 11:34:37                                   Desc Main
                                                               Document     Page 2 of 35
Debtor    Ameritrans Capital Corporation                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)

                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                    Case 16-13842            Doc 1        Filed 10/05/16 Entered 10/05/16 11:34:37                                 Desc Main
                                                            Document     Page 3 of 35
Debtor   Ameritrans Capital Corporation                                                            Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
Case 16-13842   Doc 1   Filed 10/05/16 Entered 10/05/16 11:34:37   Desc Main
                          Document     Page 4 of 35
                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                       Desc Main
                                                                   Document     Page 5 of 35




 Fill in this information to identify the case:

 Debtor name         Ameritrans Capital Corporation

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 3, 2016                         X /s/ Robert Ammerman
                                                                       Signature of individual signing on behalf of debtor

                                                                       Robert Ammerman
                                                                       Printed name

                                                                       Interim CEO and Chairman of the Board
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                   Case 16-13842                            Doc 1              Filed 10/05/16 Entered 10/05/16 11:34:37                                                            Desc Main
                                                                                 Document     Page 6 of 35
 Fill in this information to identify the case:

 Debtor name            Ameritrans Capital Corporation

 United States Bankruptcy Court for the:                       DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           736,163.80

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           736,163.80


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       12,854,403.33


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         12,854,403.33




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                  Case 16-13842                   Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                       Desc Main
                                                                   Document     Page 7 of 35
 Fill in this information to identify the case:

 Debtor name         Ameritrans Capital Corporation

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Boston Private Bank & Trust                                                                                                     $26,677.63



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $26,677.63
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Misc. prepaid expenses                                                                                                           $1,297.89




 9.        Total of Part 2.                                                                                                                      $1,297.89
           Add lines 7 through 8. Copy the total to line 81.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                    Desc Main
                                                                   Document     Page 8 of 35
 Debtor         Ameritrans Capital Corporation                                               Case number (If known)
                Name

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                     Valuation method used      Current value of
                                                                                                     for current value          debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                     Soha Terrace LLC; debtor is participant
                     (70%) in 6% equity interest and $1,000,000
                     capital account in entity owning a
                     condominium building development in
                     South Harlem, NY; interest is currently
           15.1.     subject of arbitration                                         4.2       %      Estimated value                     $700,000.00




           15.2.     MBS Sage Creek Ltd                                             <1%       %                                                   $0.00




           15.3.     MBS Walnut Creek, Ltd                                          <1%       %                                                   $0.00




           15.4.     Elk Associates Funding Corp.                                   100%      %                                                   $0.00



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                          $700,000.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                    Desc Main
                                                                   Document     Page 9 of 35
 Debtor         Ameritrans Capital Corporation                                                Case number (If known)
                Name




 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computer equipment (purchase price:
           $15,248.36)                                                                      $0.00                                           Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                        $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used     Current value of
           property                                       extent of           debtor's interest      for current value         debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 3
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                     Desc Main
                                                                  Document     Page 10 of 35
 Debtor         Ameritrans Capital Corporation                                               Case number (If known)
                Name

            55.1.
                     31 State Street,                     Month to
                     Boston, MA                           month lease                       $0.00                                                  $0.00


            55.2.                                         Debtor is
                                                          subtenant
                                                          under
                                                          unexpired
                     50 Jericho                           lease; property
                     Quadrangle, Jericho,                 abandoned
                     NY                                   since 2014                        $0.00                                                  $0.00




 56.        Total of Part 9.                                                                                                                    $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                 Current value of
                                                                                                                                 debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
            Note from Castle Mountain Capital,                              215,225.93 -                          215,225.93 =
            LLC with outstanding principal                            Total face amount    doubtful or uncollectible amount
            amount of $215,225.93. Parties
            entered into repayment agreement;
            monthly payment amount tied to
            obligor's collections                                                                                                            Unknown


            Note from Castle Mountain Capital,                              106,260.00 -                          106,260.00 =
            LLC with outstanding principal                            Total face amount    doubtful or uncollectible amount
            balance of $106,260. Note is stale,
            and statute of limitations may have
            expired. Debtor believes note is
            uncollectible in any event.                                                                                                            $0.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 4
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37             Desc Main
                                                                  Document     Page 11 of 35
 Debtor         Ameritrans Capital Corporation                                               Case number (If known)
                Name



 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

           D&O Policy - Catlin Specialty Insurance Company                                                                        Unknown



           D&O Policy - XL Specialty Insurance Company                                                                            Unknown



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

           Claim against Infinity Capital / Michael Feinsod                                                                       $8,188.28
           Nature of claim          Conversion of corporate funds
           Amount requested                           $8,188.28


           Judgment against guarantors of partnership obligations
           for 238 W. 108 Realty LLC. Debtor has been unable to
           collect on the judgment and believes it may be
           uncollectible.                                                                                                               $0.00
           Nature of claim         Judgment on personal guaranty
           Amount requested                       $100,000.00


           Claims against former officers and directors for
           mismanagement of corporation                                                                                           Unknown
           Nature of claim        Breach of fiduciary duty
           Amount requested                             $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                   $8,188.28
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 5
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                  Case 16-13842                       Doc 1           Filed 10/05/16 Entered 10/05/16 11:34:37                                         Desc Main
                                                                       Document     Page 12 of 35
 Debtor          Ameritrans Capital Corporation                                                                      Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $26,677.63

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $1,297.89

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                           $700,000.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                    $8,188.28

 91. Total. Add lines 80 through 90 for each column                                                            $736,163.80           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $736,163.80




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 6
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                    Desc Main
                                                                  Document     Page 13 of 35
 Fill in this information to identify the case:

 Debtor name         Ameritrans Capital Corporation

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                                          Desc Main
                                                                  Document     Page 14 of 35
 Fill in this information to identify the case:

 Debtor name         Ameritrans Capital Corporation

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $15,000.00
           Arthur D. Little                                                     Contingent
           537 Lewis Wharf                                                      Unliquidated
           Boston, MA 02110                                                     Disputed
           Date(s) debt was incurred     1/1/15-6/30/16                      Basis for the claim:    Board of Directors fees
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $8,113.43
           Bloomberg Finance LP                                                 Contingent
           PO Box 416604                                                        Unliquidated
           Boston, MA 02241                                                     Disputed
           Date(s) debt was incurred 6/3/13-7/10/13
                                                                             Basis for the claim:    Vendor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $20,000.00
           Burruano Dolan LLP                                                   Contingent
           200 Business Park Dr                                                 Unliquidated
           Suite 307                                                            Disputed
           Armonk, NY 10504
                                                                             Basis for the claim:    Accounting fees
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $1,000.00
           Capital Resource Management Inc.                                     Contingent
           31 State Street                                                      Unliquidated
           6th Floor                                                            Disputed
           Boston, MA 02109
                                                                             Basis for the claim:    Rent
           Date(s) debt was incurred September 2016
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 7
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                                          Desc Main
                                                                  Document     Page 15 of 35
 Debtor       Ameritrans Capital Corporation                                                          Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $72,684.31
          CRC Insurance Services Inc.                                           Contingent
          One Metroplex Drive                                                   Unliquidated
          Suite 400                                                             Disputed
          Birmingham, AL 35209
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred 6/13-1/14
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Creditors Adjustment Bureau                                           Contingent
          PO Box 5932                                                           Unliquidated
          Sherman Oaks, CA 91413                                                Disputed
          Date(s) debt was incurred 3/5/13
                                                                             Basis for the claim:    Collection agency for RR Donnelly
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,540.00
          Delaware Secretary of State                                           Contingent
          401 Federal Street                                                    Unliquidated
          Dover, DE 19901                                                       Disputed
          Date(s) debt was incurred 2013
                                                                             Basis for the claim:    2013 2nd est tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $12,339,926.76
          Elk Associates Funding Corporation                                    Contingent
          747 Third Avenue, 4th Floor                                           Unliquidated
          New York, NY 10017                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SBA loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $22,250.00
          Elliot Singer                                                         Contingent
          4101 Gulf Shore Blvd North                                            Unliquidated
          Unit 4 North
                                                                                Disputed
          Naples, FL 34103
          Date(s) debt was incurred 10/1/12-6/30/13
                                                                             Basis for the claim:    Board of Directors fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $31,249.98
          Fairview Investment Services                                          Contingent
          1330 St. Mary's Street                                                Unliquidated
          Suite 400                                                             Disputed
          Raleigh, NC 27605
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred 4/30/13-9/13/13
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $15,000.00
          Frank Strohm                                                          Contingent
          104 Rowland Ave                                                       Unliquidated
          Fairfield, CT 06824                                                   Disputed
          Date(s) debt was incurred      1/1/15-6/30/15                      Basis for the claim:    Board of Directors fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 7
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                                          Desc Main
                                                                  Document     Page 16 of 35
 Debtor       Ameritrans Capital Corporation                                                          Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Gary Granoff
          c/o Edward M. Spiro                                                   Contingent
          Morvillo Abramowitz Grand Iason & Anello                              Unliquidated
          565 Fifth Avenue                                                      Disputed
          New York, NY 10017
                                                                             Basis for the claim:    Claim for indemnification
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $23,750.00
          Howard Sommer                                                         Contingent
                                                                                Unliquidated
          Date(s) debt was incurred      10/1/12-6/30/13                        Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Board of Directors fees
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $22,250.00
          Ivan Wolpert                                                          Contingent
                                                                                Unliquidated
          Date(s) debt was incurred      10/1/12-6/30/13                        Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Board of Directors fees
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Ivan Wolpert
          c/o Justin V. Shur                                                    Contingent
          MoloLamken LLP                                                        Unliquidated
          540 Madison Ave                                                       Disputed
          New York, NY 10022
                                                                             Basis for the claim:    Claim for indemnification
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $24,500.00
          John Laird                                                            Contingent
          481 Canoe Hill Road                                                   Unliquidated
          New Canaan, CT 06840
                                                                                Disputed
          Date(s) debt was incurred 10/1/12-6/30/13
                                                                             Basis for the claim:    Board of Directors fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          John Laird                                                            Contingent
          481 Canoe Hill Road                                                   Unliquidated
          New Canaan, CT 06840
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Claim for indemnification
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $102,144.00
          Katten Muchin Rosenman LLP                                            Contingent
          575 Madison Ave                                                       Unliquidated
          New York, NY 10022
                                                                                Disputed
          Date(s) debt was incurred 5/14/13-8/19/13
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number 0581
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 3 of 7
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                                          Desc Main
                                                                  Document     Page 17 of 35
 Debtor       Ameritrans Capital Corporation                                                          Case number (if known)
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,565.86
          Markit WSO Corporation                                                Contingent
          13455 Noel Road                                                       Unliquidated
          Suite 1100, LB#22                                                     Disputed
          Dallas, TX 75240
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred 5/29/13-6/11/13
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $599.06
          Morris James LLP                                                      Contingent
          500 Delaware Avenue                                                   Unliquidated
          Suite 1500                                                            Disputed
          Wilmington, DE 19899
                                                                             Basis for the claim:    Legal Services
          Date(s) debt was incurred 2/24/15
          Last 4 digits of account number 0001                               Is the claim subject to offset?     No       Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $271.65
          New York City Department of Finance                                   Contingent
          66 John Street, Room 104                                              Unliquidated
          New York, NY 10038                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Account 123113
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $23,250.00
          Peter Boockvar                                                        Contingent
          11 Vanderbilt Drive                                                   Unliquidated
          Livingston, NJ 07039
                                                                                Disputed
          Date(s) debt was incurred      10/1/12-6/30/13
                                                                             Basis for the claim:    Board of Directors fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Peter Boockvar                                                        Contingent
          11 Vanderbilt Drive                                                   Unliquidated
          Livingston, NJ 07039
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Claim for indemnification
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Richard Feinstein                                                     Contingent
          c/o Justin V. Shur                                                    Unliquidated
          540 Madison Avenue
                                                                                Disputed
          New York, NY 10022
          Date(s) debt was incurred
                                                                             Basis for the claim:    Claim for indemnification
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12,971.85
          Richard L. Feinstein, CPA                                             Contingent
          44 Hedgerow Lane                                                      Unliquidated
          Jericho, NY 11753
                                                                                Disputed
          Date(s) debt was incurred 6/23/13-7/7/13
                                                                             Basis for the claim:    Consulting Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 4 of 7
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                                          Desc Main
                                                                  Document     Page 18 of 35
 Debtor       Ameritrans Capital Corporation                                                          Case number (if known)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $27,272.36
          Richards Layton & Finger                                              Contingent
          One Rodney Square                                                     Unliquidated
          920 North King Street                                                 Disputed
          Wilmington, DE 19801
                                                                             Basis for the claim:    Legal Services
          Date(s) debt was incurred 7/12/13
          Last 4 digits of account number 1374                               Is the claim subject to offset?     No       Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $15,000.00
          Robert C. Ammerman                                                    Contingent
          343 Commercial St, TH#18                                              Unliquidated
          Boston, MA 02109                                                      Disputed
          Date(s) debt was incurred 1/1/15-6/30/16
                                                                             Basis for the claim:    Board of Directors fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $37,244.10
          RR Donnelley                                                          Contingent
          c/o Creditors Adjustment Bureau                                       Unliquidated
          PO Box 5932                                                           Disputed
          Sherman Oaks, CA 91413
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,772.25
          Shareholder.com
          c/o Wells Fargo Bank                                                  Contingent
          Lockbox 30200                                                         Unliquidated
          PO Box 8500                                                           Disputed
          Philadelphia, PA 19178
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred 4/22/13-7/24/13
          Last 4 digits of account number 5126                               Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Silvia Mullens                                                        Contingent
          c/o Justin V. Shur                                                    Unliquidated
          540 Madison Avenue
                                                                                Disputed
          New York, NY 10022
          Date(s) debt was incurred
                                                                             Basis for the claim:    Claim for indemnification
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,200.00
          Stephen H. Tarnofsky, CPA                                             Contingent
          2872 Rosebud Avenue                                                   Unliquidated
          Merrick, NY 11566                                                     Disputed
          Date(s) debt was incurred 7/10/13
                                                                             Basis for the claim:    Consulting Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $22,750.00
          Steven Etra                                                           Contingent
          2 Heather Hill                                                        Unliquidated
          Brookville, NY 11545
                                                                                Disputed
          Date(s) debt was incurred      10/1/12-6/30/13
                                                                             Basis for the claim:    Board of Directors fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 5 of 7
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                                          Desc Main
                                                                  Document     Page 19 of 35
 Debtor       Ameritrans Capital Corporation                                                          Case number (if known)
              Name

 3.33      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Steven Etra                                                          Contingent
           2 Heather Hill                                                       Unliquidated
           Glen Head, NY 11545
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Claim for indemnification
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes

 3.34      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $3,779.62
           Surge Electronic Media Group                                         Contingent
           PO Box 444                                                           Unliquidated
           Hewlett, NY 11557                                                    Disputed
           Date(s) debt was incurred 9/1/13-10/1/13
                                                                             Basis for the claim:    Vendor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes

 3.35      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $444.00
           Sutherland Asbill & Brennan LLP                                      Contingent
           700 Sixth Street, NW                                                 Unliquidated
           Suite 700                                                            Disputed
           Washington, DC 20001
                                                                             Basis for the claim:    Legal Services
           Date(s) debt was incurred 6/5/14
           Last 4 digits of account number 0001                              Is the claim subject to offset?         No    Yes


 3.36      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $874.10
           Wells Fargo Financial Leasing Inc.                                   Contingent
           PO Box 6434                                                          Unliquidated
           Carol Stream, IL 60197                                               Disputed
           Date(s) debt was incurred 11/9/13-1/10/14
                                                                             Basis for the claim:    Vendor
           Last 4 digits of account number 0001
                                                                             Is the claim subject to offset?         No    Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any
 4.1       Justin V. Shur
           MoloLamken                                                                                 Line     3.17
           540 Madison Ave
                                                                                                             Not listed. Explain
           New York, NY 10022

 4.2       Justin V. Shur
           MoloLamken                                                                                 Line     3.23
           540 Madison Ave
                                                                                                             Not listed. Explain
           New York, NY 10022

 4.3       Justin V. Shur
           MoloLamken                                                                                 Line     3.33
           540 Madison Avenue
                                                                                                             Not listed. Explain
           New York, NY 10022

 4.4       SBA as Receiver for Elk Assoc. Funding
           attn: Kevin Dahill, Principal Agent                                                        Line     3.8
           1100 G Street Northwest, 11th Floor
                                                                                                             Not listed. Explain
           Washington, DC 20005



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 7
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                              Desc Main
                                                                  Document     Page 20 of 35
 Debtor       Ameritrans Capital Corporation                                                      Case number (if known)
              Name

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                         0.00
 5b. Total claims from Part 2                                                                       5b.   +   $                12,854,403.33

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                   12,854,403.33




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 7 of 7
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                      Desc Main
                                                                  Document     Page 21 of 35
 Fill in this information to identify the case:

 Debtor name         Ameritrans Capital Corporation

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Sublease for one office;
             lease is for and the nature of               $1,000/mo
             the debtor's interest

                  State the term remaining                month to month             Capital Resource Management, Inc.
                                                                                     31 State Street
             List the contract number of any                                         6th Floor
                   government contract                                               Boston, MA 02109


 2.2.        State what the contract or                   Sublease - debtor
             lease is for and the nature of               subtenant under
             the debtor's interest                        unexpired lease;
                                                          property has been
                                                          abandoned since 2014
                  State the term remaining                July 2017
                                                                                     CRC Insurance Services, Inc.
             List the contract number of any                                         One Metroplex Drive
                   government contract                                               Birmingham, AL 35209




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                  Desc Main
                                                                  Document     Page 22 of 35
 Fill in this information to identify the case:

 Debtor name         Ameritrans Capital Corporation

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                              Desc Main
                                                                  Document     Page 23 of 35



 Fill in this information to identify the case:

 Debtor name         Ameritrans Capital Corporation

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                          $0.00
       From 1/01/2016 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                          $0.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other


       For year before that:                                                                       Operating a business                                          $0.00
       From 1/01/2014 to 12/31/2014
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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                  Case 16-13842                   Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                                  Desc Main
                                                                  Document     Page 24 of 35
 Debtor       Ameritrans Capital Corporation                                                            Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Capital Resource Management, Inc.                           9/12/16                          $10,010.50                Secured debt
               31 State Street                                                                                                        Unsecured loan repayments
               6th Fl.                                                                                                                Suppliers or vendors
               Boston, MA 02109                                                                                                       Services
                                                                                                                                      Other Rent



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    Ammerman v. Feinsod et al                         Declaratory                Delaware Court of                              Pending
               8719                                              judgment                   Chancery                                       On appeal
                                                                                                                                           Concluded

       7.2.    SEC v. Stein                                      Receivership;              US District Court for the                      Pending
               C.A. No. 09-03125-RJS                             Receiver filed             SDNY                                           On appeal
                                                                 motion for order
                                                                                                                                           Concluded
                                                                 to show cause
                                                                 against Debtor
                                                                 seeking payment
                                                                 of funds to
                                                                 Receiver



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
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                  Case 16-13842                   Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                                   Desc Main
                                                                  Document     Page 25 of 35
 Debtor       Ameritrans Capital Corporation                                                                Case number (if known)



               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address
       7.3.    Ameritrans Capital Corp. v.                       Insurance                    Delaware Superior Court                     Pending
               XL Specialty Insurance Co.                        coverage dispute             Newcastle County                            On appeal
               C.A. No. N14C-10-019 (EMD)
                                                                                                                                          Concluded

       7.4.    U.S. Small Business                               Receivership;                US District Court EDNY                      Pending
               Administration v. Elk                             receiver has made                                                        On appeal
               Associates Funding Corp.                          demand upon
                                                                                                                                          Concluded
               13-1326-LAW (DNY)                                 debtor for
                                                                 payments of
                                                                 amounts due to
                                                                 Elk Associates


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 3
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                                Desc Main
                                                                  Document     Page 26 of 35
 Debtor        Ameritrans Capital Corporation                                                            Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.     Casner & Edwards, LLP
                 303 Congress Street                                                                                           September
                 Boston, MA 02210                                                                                              14, 2016                 $6,500.00

                 Email or website address
                 goldberg@casneredwards.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer            Total amount or
                Address                                          payments received or debts paid in exchange             was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     50 Jericho Quadrangle, Suite 109
                  Jericho, NY 11753

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                           Desc Main
                                                                  Document     Page 27 of 35
 Debtor      Ameritrans Capital Corporation                                                             Case number (if known)



16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Iron Mountain                                                 Robert Ammerman, 31                  Business records                        No
       1000 Campus Drive                                             State Street, 6th Fl,                                                        Yes
       Collegeville, PA 19426                                        Boston MA 02109



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                                  Desc Main
                                                                  Document     Page 28 of 35
 Debtor      Ameritrans Capital Corporation                                                             Case number (if known)



      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    SOHA Terrace LLC                                 Real estate investment                           EIN:
             c/o Hans Futterman/RGS
             Holdings LLC                                                                                      From-To
             265 West 122nd Street, Suite
             C
             New York, NY 10027

    25.2.    MBS Sage Creek Ltd                               Real estate investment                           EIN:

                                                                                                               From-To

    25.3.    MBS Walnut Creek Ltd                             Real estate investment                           EIN:

                                                                                                               From-To

    25.4.    238 W. 108 Realty LLC                            Real estate investment                           EIN:

                                                                                                               From-To




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                                  Desc Main
                                                                  Document     Page 29 of 35
 Debtor      Ameritrans Capital Corporation                                                             Case number (if known)



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.5.    633 Mead Street LLC                              Real estate investment                           EIN:

                                                                                                               From-To

    25.6.    MBS Colonnade, Ltd.                              Real estate investment                           EIN:

                                                                                                               From-To

    25.7.    Asset Recovery &                                 Consumer receivable collections                  EIN:
             Management, LLC
                                                                                                               From-To

    25.8.    CMCA, LLC                                        Consumer receivable collections                  EIN:

                                                                                                               From-To

    25.9.    Bradway Capital GAB LLC                          Bicycle manufacturing                            EIN:

                                                                                                               From-To

    25.10 Fusion Telecommunications                           Internet telephony                               EIN:
    .
                                                                                                               From-To

    25.11 MBS Serrano, Ltd.                                   Real estate investment                           EIN:
    .
                                                                                                               From-To

    25.12 EraGen Biosciences                                  Analytic Compounds                               EIN:
    .
                                                                                                               From-To

    25.13 MBS Lodge at Stone Oak, Ltd                         Real estate investment                           EIN:
    .
                                                                                                               From-To

    25.14 MBS Steeplecrest, Ltd.                              Real estate investment                           EIN:
    .
                                                                                                               From-To

    25.15 MBS Huntwick, Ltd.                                  Real estate investment                           EIN:
    .
                                                                                                               From-To

    25.16 MBS Cranbrook, Ltd.                                 Real estate investment                           EIN:
    .
                                                                                                               From-To

    25.17 MBS Briar Meadows, Ltd.                             Real estate investment                           EIN:
    .
                                                                                                               From-To

    25.18 MBS Indian Hollow, Ltd.                             Real estate investment                           EIN:
    .
                                                                                                               From-To

    25.19 Elk Associates Funding                              Small business investment                        EIN:
    .
             Corp.
                                                                                                               From-To



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 7
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                              Desc Main
                                                                  Document     Page 30 of 35
 Debtor      Ameritrans Capital Corporation                                                             Case number (if known)



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Dominic Granito
                    134 King Street
                    Staten Island, NY 10308

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Rosen Seymour Shapss Martin                                                                                          2013
                    757 Third Avenue, Sixth Floor
                    New York, NY 10017

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Robert Ammerman                                31 State Street                                     Interim CEO and Chairman of
                                                      6th Floor                                           the Board
                                                      Boston, MA 02109


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37                              Desc Main
                                                                  Document     Page 31 of 35
 Debtor      Ameritrans Capital Corporation                                                             Case number (if known)



       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Arthur Little                                  537 Lewis Wharf                                     Director                         July 2013 to July
                                                      Boston, MA 02110                                                                     2016

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Frank Strohm                                   104 Rowland Ave                                     Director                         July 2013 to July
                                                      Fairfield, CT 06824                                                                  2016


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Ameritrans Capital Corporation                                                                             EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 3, 2016

 /s/ Robert Ammerman                                                    Robert Ammerman
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Interim CEO and Chairman of the Board

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
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                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37            Desc Main
                                                                  Document     Page 32 of 35




                                                               United States Bankruptcy Court
                                                                     District of Massachusetts
 In re      Ameritrans Capital Corporation                                                            Case No.
                                                                                 Debtor(s)            Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Interim CEO and Chairman of the Board of the corporation named as the debtor in this case, hereby verify that the attached list

of creditors is true and correct to the best of my knowledge.




 Date:       October 3, 2016                                          /s/ Robert Ammerman
                                                                      Robert Ammerman/Interim CEO and Chairman of the Board
                                                                      Signer/Title




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                                                                                            Corporation
537 Lewis Wharf                              Document
                                           4101               Page
                                                  Gulf Shore Blvd    33 of 35
                                                                  North         13455 Noel Road
Boston, MA 02110                            Unit 4 North                               Suite 1100, LB#22
                                            Naples, FL 34103                           Dallas, TX 75240
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Bloomberg Finance LP                        Fairview Investment Services               Morris James LLP
PO Box 416604                               1330 St. Mary's Street                     500 Delaware Avenue
Boston, MA 02241                            Suite 400                                  Suite 1500
                                            Raleigh, NC 27605                          Wilmington, DE 19899



Burruano Dolan LLP                          Frank Strohm                               New York City Department of Financ
200 Business Park Dr                        104 Rowland Ave                            66 John Street, Room 104
Suite 307                                   Fairfield, CT 06824                        New York, NY 10038
Armonk, NY 10504



Capital Resource Management Inc.            Gary Granoff                               Peter Boockvar
31 State Street                             c/o Edward M. Spiro                        11 Vanderbilt Drive
6th Floor                                   Morvillo Abramowitz Grand Iason & Anello   Livingston, NJ 07039
Boston, MA 02109                            565 Fifth Avenue
                                            New York, NY 10017

Capital Resource Management, Inc.           Howard Sommer                              Richard Feinstein
31 State Street                                                                        c/o Justin V. Shur
6th Floor                                                                              540 Madison Avenue
Boston, MA 02109                                                                       New York, NY 10022



CRC Insurance Services Inc.                 Ivan Wolpert                               Richard L. Feinstein, CPA
One Metroplex Drive                         c/o Justin V. Shur                         44 Hedgerow Lane
Suite 400                                   MoloLamken LLP                             Jericho, NY 11753
Birmingham, AL 35209                        540 Madison Ave
                                            New York, NY 10022

CRC Insurance Services, Inc.                John Laird                                 Richards Layton & Finger
One Metroplex Drive                         481 Canoe Hill Road                        One Rodney Square
Birmingham, AL 35209                        New Canaan, CT 06840                       920 North King Street
                                                                                       Wilmington, DE 19801



Creditors Adjustment Bureau                 Justin V. Shur                             Robert C. Ammerman
PO Box 5932                                 MoloLamken                                 343 Commercial St, TH#18
Sherman Oaks, CA 91413                      540 Madison Ave                            Boston, MA 02109
                                            New York, NY 10022



Delaware Secretary of State                 Justin V. Shur                             RR Donnelley
401 Federal Street                          MoloLamken                                 c/o Creditors Adjustment Bureau
Dover, DE 19901                             540 Madison Avenue                         PO Box 5932
                                            New York, NY 10022                         Sherman Oaks, CA 91413



Elk Associates Funding Corporation          Katten Muchin Rosenman LLP                 SBA as Receiver for Elk Assoc. Fund
747 Third Avenue, 4th Floor                 575 Madison Ave                            attn: Kevin Dahill, Principal Agent
New York, NY 10017                          New York, NY 10022                         1100 G Street Northwest, 11th Floor
                                                                                       Washington, DC 20005
Shareholder.comCase      16-13842    Doc 1   Filed 10/05/16 Entered 10/05/16 11:34:37   Desc Main
c/o Wells Fargo Bank                          Document     Page 34 of 35
Lockbox 30200
PO Box 8500
Philadelphia, PA 19178

Silvia Mullens
c/o Justin V. Shur
540 Madison Avenue
New York, NY 10022



Stephen H. Tarnofsky, CPA
2872 Rosebud Avenue
Merrick, NY 11566




Steven Etra
2 Heather Hill
Brookville, NY 11545




Steven Etra
2 Heather Hill
Glen Head, NY 11545




Surge Electronic Media Group
PO Box 444
Hewlett, NY 11557




Sutherland Asbill & Brennan LLP
700 Sixth Street, NW
Suite 700
Washington, DC 20001



Wells Fargo Financial Leasing Inc.
PO Box 6434
Carol Stream, IL 60197
                 Case 16-13842                    Doc 1          Filed 10/05/16 Entered 10/05/16 11:34:37              Desc Main
                                                                  Document     Page 35 of 35



                                                               United States Bankruptcy Court
                                                                     District of Massachusetts
 In re      Ameritrans Capital Corporation                                                              Case No.
                                                                                 Debtor(s)              Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Ameritrans Capital Corporation in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 CEDE & Co (FAST)
 PO Box 20
 New York, NY 10274
 Infinity Capital Partners LP
 c/o Michael Feinsod
 60 The Intervale
 Roslyn, NY 11576




    None [Check if applicable]




 October 3, 2016                                                     /s/ Michael J. Goldberg
 Date                                                                Michael J. Goldberg 551869
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Ameritrans Capital Corporation
                                                                     Casner & Edwards, LLP
                                                                     303 Congress Street
                                                                     Boston, MA 02210
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